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                    EXHIBIT H
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 1                  UNITED STATES DISTRICT COURT
 2                     DISTRICT OF NEW JERSEY
 3                     Case No. 1:19-md-2875-RBK
        ______________________________________
 4                                                         )
        IN RE:      VALSARTAN, LOSARTAN AND                )
 5      IRBESARTAN PRODUCTS LIABILITY                      )
        LITIGATION,                                        )
 6                                                         )
                                                           )
 7                                                         )
        THIS DOCUMENT RELATES TO ALL ACTIONS               )
 8                                                         )
                                                           )
 9      --------------------------------------
10                             DAY 2
11                          CONFIDENTIAL
12                   VIDEOTAPED DEPOSITION OF
13                     DIPAK PANIGRAHY, M.D.
14                   FRIDAY, SEPTEMBER 10, 2021
15                     8:49 a.m. - 2:32 p.m.
16                     GREENBERG TRAURIG LLP
17             ONE INTERNATIONAL PLACE, SUITE 2000
18                     BOSTON, MASSACHUSETTS
19
20
21
22
23      Reported by:     Sandra A. Deschaine, CSR, RPR,
24      CLR, CRA
25      Job No. 4769072

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 1                    SEPTEMBER 10, 2021
 2
 3                            8:49 a.m.
 4
 5                  Videotaped Deposition of Dipak
 6      Panigrahy, M.D., Day 2, held at Greenberg
 7      Taurig, LLP, One International Place, Boston,
 8      Massachusetts, pursuant to Notice, before
 9      Sandra A. Deschaine, a Shorthand Reporter,
10      Registered Professional Reporter, Certified
11      LiveNote Reporter, and Notary Public in and
12      for the Commonwealth of Massachusetts.
13
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 1      A P P E A R A N C E S:
 2      ON BEHALF OF TEVA PHARMACEUTICALS:
 3      GREENBERG TRAURIG LLP
 4            Stephen Fowler, Esquire
 5            2101 L Street, N.W., Suite 1000
 6            Washington, D.C. 20037
 7            202.530.8587
 8            fowlerst@gtlaw.com
 9      and
10            Steven Harkins, Esquire
11            Kenneth Dzikowski, Esquire (Via Zoom)
12            333 Piedmont Road NE, Suite 2500
13            Atlanta, Georgia 30350
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15            harkinss@gtlaw.com
16
17      ON BEHALF OF THE PLAINTIFFS AND THE WITNESS:
18      LEVIN PAPANTONIO RAFFERTY
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23            dnigh@levinlaw.com
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25      (Appearances continued.)

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 1      A P P E A R A N C E S (continued.)
 2      ON BEHALF OF THE PLAINTIFFS:
 3      MARTIN HARDING & MAZZOTTI LLP
 4           Rosemarie Bogdan, Esquire
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 6           Albany, New York 12205
 7           518.862.1200
 8           rosemarie.bogdan@1800law1010.com
 9
10      ON BEHALF OF THE PLAINTIFFS:
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12           Layne Hilton, Esquire       (Via Zoom)
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15           504.524.5777
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17      ON BEHALF OF HJ HARKINS AND CIJEN:
18      HINSHAW & CULBERTSON
19           Kathleen Kelly, Esquire         (Via Zoom)
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24
25      (Appearances continued.)

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 1      follow up; and, like I said before, 10

 2      different types of cancer were increased.           So

 3      what we do in science is we have to use a

 4      whole set of papers, not rely on only one

 5      paper.                                                    11:07 AM

 6             Q.   Got it, Doctor.

 7                   In this case, in order for -- let

 8      me start that again.

 9                   In this case, the NDMA detected in

10      the valsartan tablets would go to the liver               11:07 AM

11      first, correct?

12             A.   So --

13             Q.   Let me start the question again.

14                   In this study, Doctor          -- in this

15      litigation, Doctor, the exposure to the                   11:07 AM

16      levels of NDMA detected in the valsartan

17      tablets because of oral ingestion, would

18      first go -- first be metabolized by the

19      liver, correct?

20                   MR. NIGH:    Form objection.                 11:07 AM

21             A.   Correct.   There's a first-pass

22      metabolism initially.

23      BY MR. FOWLER:

24             Q.   That's right, Doctor.

25                   And the liver has the highest                11:08 AM

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 1      humans likely have a higher bioavailability.

 2                    What that means is that the NDMA

 3      can go past the first-pass metabolism in the

 4      liver.      And, in fact, we know that from the

 5      occupational -- from the dietary studies,                 11:09 AM

 6      that there's an increased risk of people who

 7      had NDMA in their diet who took -- who had

 8      NDMA exposed orally, had increased risk of

 9      cancer.

10                    So we know in the gastric studies           11:09 AM

11      I've documented in my report, with Song and

12      four other studies, there's statistical

13      increase, and in my report I detailed the

14      other types where the dietary studies, in

15      which the NDMA exposure is orally, have an                11:10 AM

16      increased risk of cancer.

17      BY MR. FOWLER:

18             Q.     Doctor, in order for NDMA to

19      escape the liver, it would have to not be

20      successfully metabolized through first-pass               11:10 AM

21      metabolism, correct?

22                     Strike that.    Ask it a different

23      way.

24                    When NDMA is successfully

25      metabolized with first-pass metabolism, that              11:10 AM

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 1      NDMA is excreted without going through the

 2      rest of the body, correct?

 3                   MR. NIGH:    Form objection.

 4             A.   Correct.   If it's only first-pass

 5      metabolism -- if a drug only goes through                 11:10 AM

 6      first metabolism, it won't make it to the

 7      systemic.   But what I'm saying is that we

 8      know from the epi data that orally ingested

 9      NDMA through the diet increased the risk of

10      multiple systemic cancers, and I've                       11:10 AM

11      documented it in my report.        It wasn't only

12      liver cancer.    There's other cases where the

13      lung, the gastric -- yeah, in other systemic

14      cancers there's an increased risk.           Even, for

15      example, esophogeal and other types.                      11:11 AM

16      BY MR. FOWLER:

17             Q.   Doctor, there is a level of NDMA

18      that would be successfully metabolized with

19      first-pass metabolism; isn't that correct?

20             A.   Correct.                                      11:11 AM

21             Q.   That's what first-pass metabolism

22      means, right?

23             A.   Correct.

24             Q.   Tell the jury what what first-pass

25      metabolism means, sir.                                    11:11 AM

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 1      throughout the body, and that's -- and that,

 2      in conjunction with the Anderson 1991 paper,

 3      where they gave NDMA to monkeys and showed in

 4      32 different tissues that these adducts were

 5      expressed; that that was because these                    11:15 AM

 6      cytochrome P450s are expressed throughout the

 7      body; while liver is the highest expression,

 8      they're expressed everywhere.

 9             Q.   Doctor, in order for the NDMA to

10      get to any other system in the body, it would             11:15 AM

11      have to escape the liver.

12                   Can we agree on that?

13                   MR. NIGH:    Form objection.

14             A.   Correct.   To go -- systemically.

15      BY MR. FOWLER:                                            11:15 AM

16             Q.   It would have to escape the liver

17      in order to reach any of those other organs

18      that you're talking about; correct?

19             A.   Yes.

20             Q.   And NDMA itself is fairly stable              11:15 AM

21      without being metabolized, correct?

22                   MR. NIGH:    Form objection.

23      BY MR. FOWLER:

24             Q.   Withdrawn.

25                   Doctor, you have no data in your             11:15 AM

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 1                          SIGNATURE PAGE
 2                                DAY 2
 3        IN RE:      VALSARTAN, LOSARTAN AND IRBESARTAN
 4        DIPAK PANIGRAHY, M.D. - SEPTEMBER 10, 2021
 5
 6           I, the undersigned, declare under penalty
 7      of perjury that I have read the foregoing
 8      transcript, and I have made any corrections,
 9      additions or deletions that I was desirous of
10      making; that the foregoing is a true and
11      correct transcript of my testimony contained
12      therein.
13
14                  Executed this__________day of
15                  ____________,
16
17                  at________________, ___________.
18                       (CITY)                    (STATE)
19
20                       --------------------------
21                           DIPAK PANIGRAHY, M.D.
22
23
24
25

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